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                        EXHIBIT E
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 0:20-CV-61872-SINGHAL/HUNT

   ALAN DERSHOWITZ

                  Plaintiff,

   vs.

   CABLE NEWS NETWORK, INC.

                  Defendant.

   _________________________________/

                          PLAINTIFF’S SUPPLEMENTAL ANSWER TO
                            DEFENDANT’S INTERROGATORY NO. 7

           Pursuant to Federal Rules of Civil Procedure 26 and 33, Plaintiff Alan Dershowitz hereby

   supplements his answer to the following interrogatory:

           INTERROGATORY NO. 7: Identify any non-party Person or entity that has provided

   or is providing financial support for this Action (including but not limited to payment of attorneys’

   fees and costs) and/or that has a financial interest in the outcome of this Action.

           ANSWER: The Alan Dershowitz Legal Defense Trust has provided financial support for

   this action.
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                                                      Respectfully submitted,

                                                      By: /s/ Mark A. Schweikert
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                                                      and

                                                      John B. Williams (pro hac vice)
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                                                      WILLIAMS LOPATTO PLLC
                                                      1629 K Street, N.W., Suite 300
                                                      Washington D.C. 20006
                                                      Tel: (202) 277-8435

                                                      Counsel for Plaintiff Alan Dershowitz




                                  CERTIFICATE OF SERVICE

          I hereby certify that, on October 19, 2022, I served the foregoing upon counsel of record

   for Defendant by email.

                                                                  /s/ Mark A. Schweikert________
